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                                                             UNITED STATES BANKRUPTCY COURT
                                                                DISTRICT OF SOUTH CAROLINA

IN RE: Roger Levi Blanding                 )                                        CASE NO: 16-00185-jw
                                           )                                        CHAPTER: 13
      130 Blanding Road                    )
      St. Stephen, SC 29479                )                                        NOTICE, CHAPTER 13 PLAN, MOTIONS TO VALUE
                                           )                                        SECURITY, AVOID JUDICIAL LIEN, AVOID A
                                           )                                        NONPURCHASE MONEY, NONPOSSESSORY
                                           )                                        SECURITY INTEREST AND LIEN, AND/OR TO
                                           )                                        ASSUME OR REJECT AN EXECUTORY
                             DEBTOR(S)     )                                        CONTRACT/UNEXPIRED LEASE
___________________________________________)
                                                                                                          1

I. NOTICE TO CREDITORS AND PARTIES IN INTEREST: The debtor has filed a chapter 13 bankruptcy case and listed
you as a creditor or interested party. The debtor has filed the following chapter 13 plan and m otions which m ay affect your
rights. Failure to object may constitute an implied acceptance of and consent to the relief requested in this
document.

         A. ADDITIONS, MODIFICATIONS, OR DELETIONS: All additions or m odifications to the Courts form plan (See
exhibits to SC LBR 3015-1 and 3015-2, SC LBR refers to the SC Local Bankruptcy Rules, available at
www.scb.uscourts.gov) are highlighted by italics. Deletions are noted as Not Applicable or by striking through the deleted
provisions. If changes to this form or if an alternative plan is proposed, a cover sheet that sum m arizes and identifies the
changes shall be filed and served herewith.

        B. DEADLINE FOR FILING OBJECTIONS, NOTICE OF HEARING ON CONFIRMATION OF CHAPTER 13 PLAN
AND MOTIONS: Objections to the m otions and any provision of the plan m ust be m ade in accordance with SC LBR 9014-
1, properly served, and filed with the United States Bankruptcy Court, 1100 Laurel Street, Colum bia, SC 29201, within
twenty-eight (28) days from the date this docum ent is filed. Tim ely objections will be heard at the confirm ation hearing,
notice of which is given separately in the Notice of Meeting of Creditors. If a tim ely objection is filed after the confirm ation
hearing, a separate hearing on the objection will be scheduled and notice of such a hearing will be given. If no tim ely
objection is filed, the Court, upon recom m endation of the chapter 13 trustee and without further hearing or notice, m ay
enter an order confirm ing the plan and granting the m otions.

II. M OTION TO VALUE SECURITY, AVOID JUDICIAL LIEN, AVOID A NONPURCHASE M ONEY, NONPOSSESSORY
SECURITY INTEREST AND LIEN, AND/OR TO ASSUM E OR REJECT AN EXECUTORY CONTRACT/UNEXPIRED
LEASE. The debtor requests that confirm ation of this plan alter the rights of the following creditor:

                                                                         1 stFranklin Financial
                                                                          OneM ain Financial
                                                                        Republic Finance, LLC
                                                                               Springleaf
                                                                             W orld Finance

        A.        Nonpossessory, Nonpurchase-M oney Lien: The debtor m oves, pursuant to 11 U.S.C. § 522(f), to
avoid the following nonpossessory, nonpurchase-m oney security interest and lien in household goods:


 N am e of creditor        Value of D ebtors         Total of all other          Exem ption             Estim ated                Security interest         Security interest
 and description of        interest in               liens                                              security                  N ot avoided (see         to be avoided
 property securing         property                                                                     interest/debt             IV(B)(4) below)           (see IV(E) below)
 lien

 1 s t Franklin            $850.00                   $32,768.70                  $850.00                $3,052.00                  $0.00                    $3,052.00
 Financial

 O neM ain                 $850.00                   $21,003.20                  $850.00                $14,817.50                 $0.00                    $14,817.50
 Financial




                      1
                          W hen used herein, the term “debtor” shall apply as applicable either in the singular or in the plural if there are joint debtors in the
           case.
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 R epublic                $850.00                $27,476.70                $850.00               $8,344.00                 $0.00                    $8,344.00
 Finance, LLC

 Springleaf               $850.00                $26,663.50                $850.00               $9,157.20                 $0.00                    $9,157.20



 W orld Finance           $850.00                $35,370.70                $850.00               $450.00                   $0.00                    $450.00



                                                                                                                                                                    2

          B.          Judicial Lien: The debtor m oves, pursuant to 11 U.S.C. § 522(f), to avoid the following judicial lien:

 N am e of creditor       Estim ated judicial    Total of all                Applicable          Value of the             Judicial lien Not         Judicial lien
 and description of       lien                   senior/avoidable liens      Exem ption and      D ebtors interest in     avoided                   avoided
 property securing                                                           C ode Section       property
 lien

 N /A


         C.      Valuation of Security: The debtor m oves, in accordance with 11 U.S.C. § 506, to establish the value of a
lien as follows:

 N am e of creditor and description       Value of D ebtors      H older and am ount of           Estim ate of       Value of lien (see       U nsecured claim after
 of property securing lien                interest in property   superior liens                   creditors          IV(B)(4) below)          valuation (see IV(E)
                                                                                                  claim                                       below)

 N /A


        D.       Assumption or Rejection of Executory Contract/Unexpired Lease: The debtor m oves for the
assum ption of the following executory contract and/or unexpired lease. The debtor agrees to abide by all term s of the
agreem ent and to cure any pre-petition arrearage or default in the m anner below. Any executory contract or unexpired
lease not specifically m entioned is rejected.

 N am e of C reditor and lease or contract      Am ount of        Estim ated           C ure Provisions for any            Regular paym ents to be paid by D ebtor
 to be assum ed                                 regular           am ount of           default paid by (D ebtor or         directly to creditor beginning
                                                paym ent          D efault (state if   trustee)                            (m onth/year)
                                                                  none)




III. THE CHAPTER 13 PLAN: PAYM ENT OBLIGATIONS OF THE DEBTOR.

         A. Paym ents from the debtor to the chapter 13 trustee (the “trustee”): The debtor subm its to the supervision and
control of the trustee all or such portion of future earnings or other future incom e as is necessary for the execution of the
plan. In addition, the debtor will pay to the trustee any portion of a recovery under a pre-petition claim or cause of action
that constitutes disposable incom e or is not exem pt.

        The debtor shall pay to the trustee the sum of $ 1,625.00 per m onth for a period of sixty (60) m onths, unless all
allowed claim s (other than long-term claim s) are fully paid pursuant to the plan.

        B. Paym ents from the debtor directly to creditors: The debtor shall pay all post-petition priority obligations,
including but not lim ited to taxes and post-petition dom estic support, and pay regular paym ents on assum ed executory
contracts or leases, directly to the holder of the claim as the obligations com e due, unless otherwise ordered by the Court.
The debtor m ay be required to pay som e or a portion of pre-petition debts directly to a creditor in addition to required
paym ents to the trustee, as indicated in paragraph II(D) above and/or in the paragraphs that follow.

IV. PLAN DISTRIBUTIONS TO CREDITORS. To receive a distribution from the trustee, a proof of claim , including
adequate supporting docum entation, m ust be filed with the Court. If a claim designated in this plan as secured is filed as
an unsecured claim and the plan is confirm ed, the claim m ay be treated as unsecured for purposes of plan distributions by
the trustee. If a creditor files a proof of claim alleging that the claim is secured, but does not tim ely object to the
confirm ation of the plan and the claim is treated as unsecured in a confirm ed plan, the claim m ay be treated as unsecured
for purposes of plan distributions by the trustee. Confirm ation of this plan does not bar a party in interest from objecting to


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                                  For co-owned property, see In re W are, 274 B.R. 206 (Bankr. D .S.C. 2001) and Exhibit C to SC LBR 4003-2.
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a claim . The trustee, after the deduction of the trustee's com m ission and expenses, or the debtor, as indicated, shall m ake
paym ents as follows:

        A. Attorney for the debtor:

                   1. The debtor and the debtors attorney have agreed to an attorney’s fee in the am ount of $ 3 , 5 0 0 . 0 0 f o r
the services identified in the Rule 2016(b) disclosure statem ent filed in this case. The am ount of $1,800.00 was paid prior
to the filing of the case. The rem aining fee of $1,700.00 shall be disbursed by the trustee as follows: Following
confirm ation of the plan
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                           and unless the Court orders otherwise, the trustee shall disburse $1000.00 to the attorney from the
initial disbursem ent. Thereafter, the balance of the attorneys com pensation as allowed by the Court shall be paid, to the
extent then due, with all funds rem aining each m onth after paym ent of allowed secured claim s and pre-petition arrearages
on dom estic support obligations. In instances where an attorney assum es representation in a pending pro se case and a
plan is confirm ed, a separate order m ay be entered by the Court, without further notice, which allows for the paym ent of a
portion of the attorney’s fees in advance of paym ents to creditors.

                    2. If, as an alternative to the above treatm ent, the debtors attorney has received a retainer and cost
advance and agreed to file fee applications for com pensation and expenses in this case pursuant to 11 U.S.C. § 330, the
retainer and cost advance shall be held in trust until fees and expense reim bursem ents are approved by the Court. Prior
to the filing of this case, the attorney has received $______ and for plan confirm ation purposes only, the fees and
expenses of counsel are estim ated at $              or less.

        B. Secured Creditor Claim s: The plan treats secured claim s as follows:

                  1. General Provisions: The term s of the debtors pre-petition agreem ent with a secured creditor shall
continue to apply except as m odified by this plan, the order confirm ing the plan, or other order of the Court. Holders of
secured claim s shall retain liens to the extent provided by 11U.S.C. § 1325(a)(5)(B)(i). Secured creditors paid the full
secured claim provided for by this plan shall tim ely satisfy any liens in the m anner required by applicable law or order of
this Court. Any creditor holding a claim secured by property that is rem oved from the protection of the autom atic stay by
order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account
of any secured claim . This also applies to creditors who m ay claim an interest in, or lien on, property that is rem oved from
the protection of the autom atic stay by another lienholder or released to another lienholder, unless the Court orders
otherwise. Any funds that would have been paid to any such creditor will be distributed according to the rem aining term s of
the plan. (The preceding language does not apply if the sole reason for its application arises under 11 U.S.C. § 362(c)(3)
or (c)(4)). Any creditor affected by this provision m ay file an item ized proof of claim for any unsecured deficiency within a
reasonable tim e after the rem oval of the property from the protection of the autom atic stay. Secured creditors that will be
paid directly by the debtor m ay send standard paym ent and escrow notices, paym ent coupons, or inquiries about
insurance, and such action will not be considered a violation of the autom atic stay.

                2. Long-term or m ortgage debt. No default: The debtor is current on obligations to (creditor nam e) and will
continue regular paym ents directly to that creditor. Description of collateral:

                   3. Long term or m ortgage debt. Curing default: 11 U.S.C. 1322(b)(3) and/or (5):

                           a. Arrearage paym ents. The trustee shall pay the arrearage as stated in the creditors allowed
claim or as otherwise ordered by the Court to Seterus at the rate of $78.00 or m ore per m onth, for 130 Blanding Road,
St. Stephens, SC 29479 along with 0% interest. The creditor shall apply trustee paym ents solely to those designated
arrearages, i.e., those arrearages accruing before the m onth specified in below. For so long as the debtor com plies with
this plan, a creditor m ay not declare a default based on any paym ent delinquency to be cured by this paragraph and the
creditor shall not im pose any post-petition fee on account of any arrearage paid by the trustee.

                           b. Maintenance of regular non-arrearage paym ents. Beginning February 2016, the Debtor shall
pay directly to the creditor non-arrearage paym ents arising under the agreem ent with the secured creditor. The creditor
shall apply each paym ent under this paragraph solely to post-petition obligations that accrue during or after the m onth
specified herein.

                 4. Secured portion of claim s altered by valuation and lien avoidance: The trustee shall pay the sum of
or m ore per m onth, along with 5.25% interest until the secured claim of          established above is paid in full. The


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                               The chapter 13 trustee shall not at any tim e disburse to the debtor’s attorney m ore than: (a) the unpaid balance of (1) the fee
        to be paid under the plan pursuant to paragraph 1 herein, or (2) the fee previously applied for and authorized pursuant to paragraph 2 herein, plus
        (b) any supplem ental fee then applied for and authorized under the term s of the applicable Procedures for Approval of Attorney’s Fees in Chapter
        13 Cases.
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rem aining portion of the allowed claim will be treated as a general unsecured claim .

                 5. Other secured debts (allowed claim to be paid in full without valuation or avoidance of lien): The
trustee shall pay Heritage Trust Federal Credit Union the sum of $278.00 or m ore per m onth, along with 5.05%
(contract rate) interest until the allowed secured claim is paid in full.

                The trustee shall pay Heritage Trust Federal Credit Union the sum of $164.00 or m ore per m onth, along
with 5.25% interest until the allowed secured claim is paid in full.

                6. Surrender of property: The debtor will surrender the following property upon confirm ation of the plan.
The order confirm ing plan shall term inate the autom atic stay as to that property:

                  Timeshare at 911 Riverw ood Drive Unit 4A to Zealandia Capital, Inc.
                  Debtor’s son shall continue to maintain payments to Heritage Trust for the 2004 Toyota Corolla.

Any creditor affected by this provision m ay file an item ized proof of claim for any unsecured deficiency within a reasonable
tim e after the surrender of the property.

                    7. Secured tax debt: The trustee shall pay (creditor nam e) the sum of $ (paym ent am ount) or m ore per
m onth until the (net balance or value) of creditors secured claim plus (percentage) % interest has been paid. If the lien is to
be valued, the debtor shall file a separate m otion to value the claim and establish priority of any rem aining tax obligations.
If a tax priority creditor files a claim designated as secured, is not treated as secured in this paragraph, and does not tim ely
object to confirm ation of this plan, then the claim m ay be paid as a priority claim for purposes of distributions from the
trustee.
          N/A

        C. Priority Creditors: Priority claim s shall be paid as follows:

                  1. Dom estic Support Claim s. 11 U.S.C. § 507(a)(1): N/A

                        a. Pre-petition arrearages. The trustee shall pay the pre-petition dom estic support obligation
arrearage to (nam e of DSO creditor), at the rate of $ (am ount) or m ore per m onth until the balance, without interest, is paid
in full.

                         b. The debtor shall pay all post-petition dom estic support obligations as defined in 11 U.S.C §
101(14A) on a tim ely basis directly to the creditor.

                           c. Any party entitled to collect child support or alim ony under applicable non-bankruptcy law m ay
collect obligations com ing due after this case was filed from the incom e or assets of the debtor-parent/spouse without
further order or relief from the autom atic stay. (Any claim for child support or alim ony due before this case was filed m ust
be collected in accordance with 11 U.S.C. § 507(a)(1) and 11U.S.C. § 1322(a)(2).)

                  2. Other Priority debt. The trustee shall pay all rem aining pre-petition 11 U.S.C. § 507priority claim s on a
pro rata basis.

        D. Executory Contracts and Unexpired Leases: Regular paym ents that arise post-petition under an executory
contract or lease that is being assum ed shall be paid directly by the debtor according to the term s of the contract or lease.
Pre-petition defaults will be cured by paym ents of the sum of $ (paym ent am ount) or m ore per m onth by the trustee or the
debtor according to paragraph II(D). Claim s arising from the rejection of executory contracts or leases shall be general
unsecured claim s unless otherwise ordered by the Court. N/A

         E. General Unsecured Creditors: General unsecured creditors shall be paid allowed claim s pro rata by the trustee
to the extent that funds are available after paym ent of all other allowed claim s. The debtor does not propose to pay 100%
of general unsecured claim s.

V. PROPERTY OF THE ESTATE, STATUS AND OBLIGATIONS OF THE DEBTOR AFTER CONFIRM ATION: Upon
confirm ation of the plan, property of the estate will rem ain property of the estate, but possession of property of the estate
shall rem ain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or m aintenance of
property of the estate. The debtor is responsible for protecting the non-exem pt value of all property of the estate and for
protecting the estate from any liability resulting from operation of a business by the debtor. Nothing herein is intended to
waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by the
debtor.
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Dated:January 15, 2016                                            s/ W endi M. Freeman
                                                                  W endi M. Freem an, Esq., Atty. for Debtor
                                                                  1040 eW all Street
                                                                  Mt. Pleasant, SC 29464-3046
                                                                  (843) 849-1900
                                                                  Dist. Court ID #5336




/s/ Roger Levi Blanding


The above signing parties certify that the foregoing Notice, Plan and Motions was served on all creditors and parties in
interest entitled to such notice on the above stated date. The list of the specific nam es and addresses of parties served
with the plan is attached to the plan filed with the court.

VIA ECF:

Jam es M. W ym an, Esq.
Chapter 13 Trustee
PO Box 997
Mount Pleasant, SC 29465-0997

VIA U.S. MAIL:


SC D EPT OF REVEN U E & TAXATIO N                 C H AR LESTO N R AD IO LO G ISTS              H ER ITAG E TR U ST FED ER AL C R ED IT
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PO BO X 459077                                   ATTN : BAN KR U PTCY D EPT               W O RLD FIN AN C E
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N O R FO LK VA 23541-0914                        ATTN : BAN KR U PTCY
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214 ST JAM ES AVE STE 150
G O O SE C R EEK SC 29445-3082                   SYN CH R O N Y BAN K/W ALM ART
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